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     Bruce Locke (#177787)

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 4   916-719-3194
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8

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10          UNITED STATES,
                                                            No. 2:15-CR-185 TLN
11                            Plaintiff,

12                  v.                              STIPULATION AND ORDER TO

13          SHARICE WILLIAMS, et. al,.              CONTINUE THE STATUS CONFERENCE

14                            Defendant.            TO OCTOBER 20, 2016

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for September 8,

23   2016 at 9:30 a.m., should be continued to October 20, 2016 at 9:30 a.m., and that time under the

24   Speedy Trial Act should be excluded from September 8, 2016 through October 20, 2016.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and discuss the proposed plea agreement with Ms.
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     Williams and to conduct plea negotiations. The discovery includes several video tapes. In
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     addition, the government has recently provided the defense with information concerning a prior
     supervised release violation. The exclusion of time is also necessary to ensure continuity of

 2   counsel. Accordingly, the time between September 8, 2016 and October 20, 2016 should be

 3   excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section

 4   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
     of justice served by granting this continuance outweigh the best interests of the public and the
 5
     defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to
 6
     sign this pleading for him.
 7

 8          Date: September 1, 2016                      /s/ Bruce Locke
                                                        BRUCE LOCKE
 9                                                      Attorney for Sharice Williams
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11
            Date: September 1, 2016                      /s/ Bruce Locke
12                                                      For ROGER YANG
                                                        Assistant United States Attorney
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15          IT IS SO ORDERED.
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            Dated: September 2, 2016
17                                                      Troy L. Nunley
18                                                      United States District Judge

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